Joyce Weaver Johnson
Assistant Municipal Attorney
Municipal Attorney's Office
P.O. Box 196650
Anchorage, Alaska 99519-6650
(907) 343-4545
(907) 343-4550 facsimile

Attorney for Defendants
Municipality of Anchorage

                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA

RICHARD WELCH,                    )
                                  )
           Plaintiff,             )
                                  )
vs.                               )
                                  )
MUNICIPALITY OF ANCHORAGE,        )
ANCHORAGE POLICE DEPARTMENT,      )
OFFICERS RIALTA, ARMSTRONG,       )
DAVIDSON, KERLE, MITCHELL,        )
VANDERVALK, HENIKMAN, COTTLE,     )
B. CROSS, APD SUPERVISOR/DUTY     )
OFFICER, APD TRAINING COORDINATOR,)
APD POLICE CHIEF MEW, and         )
JOHN DOES I, II, III,             )
                                  )
           Defendants.            )
                                  ) Case No. 3:11-CV-00223 SLG

                     NOTICE ATTACHING DRAFT FOR
               STIPULATED MOTION AND PROTECTIVE ORDER

       The named Municipal defendants, through counsel, the Municipal Attorney’s

Office, attach as Exhibit “A” the draft “Joint Motion for Entry of Stipulated Protective

Order; Stipulated Protective Order,” which was sent to the plaintiff on July 13.




                                           -1-
         Case 3:11-cv-00223-SLG Document 49 Filed 07/23/12 Page 1 of 3
       Counsel today received “Plaintiff’s Objections to Defendants Proposed Protective

Order.” The Objections expand the scope of what plaintiff is requesting, yet he does not

offer any proposed revisions, nor address specifics such as the names of the officers

whose records he seeks. If agreement is not reached before August 13, defendants will

then file a substantive Response to the Objections, as directed at Dkt. 47, ¶ D(3).

       Counsel and the plaintiff spoke at some length by telephone this afternoon and he

indicated he is working on getting one of a couple of attorneys appointed to represent

him. He said he is reluctant to commit to any provisions of a Protective Order, or to offer

any proposed language of his own while waiting to see if he can get counsel.

     Respectfully submitted this 23rd day of July, 2012.

                                                  DENNIS A. WHEELER
                                                  Municipal Attorney

                                                        By: s/ Joyce Weaver Johnson
                                                        Municipal Attorney's Office
                                                        P.O. Box 196650
                                                        Anchorage, Alaska 99519-6650
                                                        Phone: (907) 343-4545
                                                        Fax: (907) 343-4550
                                                        E-mail: uslit@muni.org
                                                        Alaska Bar No. 9306029




                                            -2-
         Case 3:11-cv-00223-SLG Document 49 Filed 07/23/12 Page 2 of 3
Certificate of Service
The undersigned hereby certifies that on 07/23/2012, a true
and correct copy of the Notice of Attaching Draft for Stipulated
Motion and Protective Order was served by mail on:

     Richard Welch
     2440 E. Tudor Road, #291
     Anchorage, AK 99507


by first class regular mail, if noted above, or by electronic
means through the ECF system as indicated on the Notice
of Electronic Filing.

/s/ Marie Weyers
Marie Weyers, Legal Secretary
Municipal Attorney’s Office




                                                          -3-
            Case 3:11-cv-00223-SLG Document 49 Filed 07/23/12 Page 3 of 3
